 1
                                                       Judge:             Honorable Christopher M. Alston
 2                                                     Chapter:           7
                                                       Hearing Location: U.S. Courthouse Room 7206
 3                                                                        700 Stewart Street
                                                                          Seattle, WA 98101
 4                                                     Hearing Date/Time: This motion is not noted for
                                                                          hearing unless oral argument is
 5                                                                        requested by the court.
                                                                          LBR 9013-1(h)
 6                                                     Response:          Respond only if a response is
                                                                          requested by the court.
 7                                                                        LBR 9013-1(h)
 8

 9
                              UNITED STATES BANKRUPTCY COURT FOR THE
10                                WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
11
      In re:                                                           Case No. 18-13383
12
      JACK CARLTON CRAMER JR.,                                     DEBTOR’S DECLARATION IN
13                                                                 SUPPORT OF MOTION FOR
                                         Debtor.                   RECONSIDERATION OF ORDER
14                                                                 ENTERED APRIL 9, 2019, DIRECTING
                                                                   DEBTOR TO TURN OVER PROPERTY
15                                                                 OF THE ESTATE

16             Jack Carlton Cramer Jr., the debtor, makes the following statement under penalty of perjury:

17             I make this declaration in support of my motion asking the court to reconsider the order entered

18   on April 9, 2019, which provides as follows:

19                ORDERED that the debtor, Jack C. Cramer, Jr., shall surrender custody and control
                  of the residence to the trustee, Edmund J. Wood, and vacate the property within
20                twenty-one (21) days of the date of this order.

21                IT IS HEREBY FURTHER ORDERED that should the debtor fail to vacate the
                  property timely, the trustee may request entry of an order directing the debtor to
22                appear before this court and show cause why he should not be held in contempt or
                  such other remedies that the court deems appropriate.
23
               I filed a voluntary Chapter 13 petition on August 29, 2018, to save his homestead located at
24
     15605 - 63rd Ave. NE, Kenmore, WA 98028, from a Sheriff sale scheduled Friday, August 31 2018.
                                                                                     HELMUT KAH, Attorney at Law
                                                                                        20205 144th Ave NE, Suite 208
     DEBTORS’ DECLARATION IN SUPPORT OF MOTION FOR                    Woodinville, WA 98072-4451
                                                                            206-234-7798
     RECONSIDERATION OF ORDER ENTERED APRIL 9, 2019                     helmutkah@outlook.com
     DIRECTING DEBTOR TO TURN OVER PROPERTY OF THE ESTATE - Page 1 of 3     WSBA # 18541


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 1
     The sheriff’s sale was scheduled upon a money judgment of creditor 21st Mortgage Corporation, Inc.,
 2
     that was entered on July 14, 2016, in King County Superior Court case no. 15-2-21512-4 SEA.
 3
            I am over 70 years of age and currently employed as a tow truck driver by All Star Towing
 4
     LLC, PO Box 33157, Seattle, WA 98133.
 5
            As the August 31, 2018, date for the sheriff’s sale of my homestead was approaching, I was
 6
     seeking legal counsel to assist me with an appropriate bankruptcy filing. I was discussing the situation
 7
     at work when one of my co-workers, Robert Joseph Penfield, said he could help me with a bankruptcy
 8
     filing and assured me that I will not lose my home, and the fees quoted for representation by an
 9
     attorney were too high.
10
            Based on Mr. Penfield’s statements and assurances, I hired him to assist me with the bankruptcy
11
     case and to guide me as it progressed through the court, including whether and how to respond to
12
     papers received from the court, from the trustee, and whether to attend court hearings and the several
13
     scheduled meetings of creditors. Mr. Penfield said he used to be a lawyer. He has prepared all the
14
     papers filed to date on my behalf in this bankruptcy case.
15
            When I received the court’s order entered April 9, 2019, I was of course seriously alarmed and
16
     discussed to with Mr. Penfield. He told me not to worry about it, that I would not lose my home and
17
     that I can appeal.
18
            I decided to contact my former lawyer, Helmut Kah, to discuss this situation. I now understand
19

20   that just about everything Mr. Penfield has been telling me I should do in this bankruptcy case was

21   incorrect.

22          Mr. Kah looked up Mr. Penfield’s status on the Washington State Bar Association web site and

23   found that he resigned in lieu of discipline effective 01/14/2014. A copy of the his WSBA Legal

24   Directory Profile is attached to this declaration.

                                                                                   HELMUT KAH, Attorney at Law
                                                                                      20205 144th Ave NE, Suite 208
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 1
            I have paid Mr. Penfield approximately $3,000.00 for services rendered in this bankruptcy case.
 2
            I understand now that Mr. Penfield’s role as a “bankruptcy petition preparer” was supposed to
 3
     have been disclosed on the last page of my voluntary petition in this case and that Mr. Penfield was
 4
     supposed to file form B 119 Bankruptcy Petition Preparer’s Notice, Declaration and Signature. He
 5
     apparently did not file such a form or disclose the fees he was charging me.
 6
            My homestead real property has a valuation ranging from $563,000 (King County Assessor’s
 7
     valuation), $694,3232 (Redfin.com valuation), and $731,741 (Zillow.com valuation).
 8
            I have been preliminarily approved for a reverse mortgage on my homestead residence at 15605
 9
     63rd Ave NE, Kenmore, WA for an initial loan amount of $200,000. This amount substantially exceeds
10
     the sum of the unsecured and secured claims filed in this chapter 7 case. Please see the attached
11
     prequalification letter dated April 17, 2019 from John Murphey MLO #8207, Pacific One Mortgage.
12
            Based on the claims that have been filed and allowed, a reverse mortgage will pay all creditors’
13
     claims in in this chapter 7 case in full together with the trustee’s fee and the trustee’s attorney’s fee.
14
            Being evicted from my home for more than twenty years would be a substantial and costly
15
     hardship upon me. Since the reverse mortgage will pay all claims in full, I ask the court to reconsider
16
     and set aside the order entered on April 9, 2019, and allow the reverse mortgage process to move to
17
     completion.
18
            DATED this 23rd day of April, 2019.
19

20

21
                                                    /s/ Jack Carl,ton Cramner Jr.
22                                                      Jack Carlton Cramer Jr.
                                                        Debtor
23

24
                                                                                       HELMUT KAH, Attorney at Law
                                                                                          20205 144th Ave NE, Suite 208
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4/15/2019                                                                  Legal Profile

  Robert Joseph Penfield
  License Number:         25081
  License Type:           Lawyer
  Eligible To Practice: No
  License Status:         Resigned in Lieu of Discipline
  WSBA Admit Date:        10/19/1995


  Contact Information

  Public/Mailing Address: 11661 SE 1st St Ste 200
                          Bellevue, WA 98005-3526
                          United States
  Email:                       Robert@PenfieldLegal.com
  Phone:                       (425) 443-0277
  Fax:                         (425) 650-6912
  Website:
  TDD:


  Practice Information Identified by Legal Professional

  Firm or Employer:
  Office Type and Size:                       Not Specified
  Practice Areas:                             None Specified
  Languages Other Than English:               None Specified


  Professional Liability Insurance

  Private Practice: Yes
  Has Insurance? No - Click for more info
  Last Updated:       4/18/2013 7:00:00 AM


  Committees

   Member of these committees/boards/panels:

   None


  Disciplinary History

  Action                          Effective
                                  Date
      Resignation in Lieu of       01/14/2014
           Discipline


  In some cases, discipline search results will not reveal all disciplinary action relating to a Washington licensed legal professional, and
  may not display links to the official decision documents.




https://www.mywsba.org/PersonifyEbusiness/LegalDirectory/LegalProfile.aspx?Usr_ID=000000025081                                                 1/1
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4/15/2019                                       Personify eBusiness > Discipline Notice Directory > Discipline Notice Detail



  Discipline Notice - Robert Penfield
  License         25081
  Number:
  Member          Robert Penfield
  Name:


  Discipline Detail

  Action:         Resignation in Lieu of Discipline
  Effective       1/14/2014
  Date:
  RPC:            1.15A - Safeguarding Property
                  1.16 - Declining or Terminating Representation
                  1.3 - Diligence
                  1.4 - Communication
                  1.5 - Fees
                  5.3 - Responsibilities Regarding Nonlawyer Assistants
                  8.4 - Misconduct
  Discipline      Affidavit of Robert Joseph Penfield Resigning from Membership in Washington State Bar Association (ELC 9.3(b))
  Notice:
  Description: Robert Joseph Penfield (WSBA No. 25081, admitted 1995), of Bellevue, resigned in lieu of discipline, effective
               01/14/2014. The lawyer agrees that he/she is aware of the alleged misconduct in disciplinary counsel’s Statement of
               Alleged Misconduct and rather than defend against the allegations, he wishes to permanently resign from membership in
               the Association. The Statement of Alleged Misconduct reflects the following violations of the Rules of Professional
               Conduct: 1.3 (Diligence), 1.4 (Communication), 1.5 (Fees), 1.15A (Safeguarding Property), 1.16 (Declining or
               Terminating Representation), 5.3 (Responsibilities Regarding Nonlawyer Assistants), 8.4 (Misconduct). Debra Slater
               acted as disciplinary counsel. Robert Joseph Penfield represented himself. Scott M. Ellerby was the hearing officer. The
               online version of NWLawyer contains a link to the following document: Affidavit of Robert Joseph Penfield Resigning
               from Membership in Washington State Bar Association (ELC 9.3(b)).
  In some cases, discipline search results will not reveal all disciplinary action relating to a Washington licensed legal professional, and
  may not display links to the official decision documents.




https://www.mywsba.org/PersonifyEbusiness/DisciplineNoticeDirectory/DisciplineNoticeDetail.aspx?dID=1814                                       1/1
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